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        Exhibit 4
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               Establishing Accountability for
                   Climate Change Damages:
                           Lessons from Tobacco Control




                         Summary of the Workshop on Climate Accountability,
                                         Public Opinion, and Legal Strategies

                                                       Martin Johnson House
                                          Scripps Institution of Oceanography
                                                La Jolla, CA, June 14−15, 2012
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Report Author
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Concerned Scientists.

Workshop Organizers                                       Contents
The workshop was conceived by Naomi Oreskes
of the University of California−San Diego, Peter          Preface ………….......................…….......……………..               3
C. Frumhoff and Angela Ledford Anderson of the
Union of Concerned Scientists, Richard Heede of           1. Introduction ………......….…...........................…          5
the Climate Accountability Institute, and Lewis
M. Branscomb of the John F. Kennedy School of             2. Lessons from Tobacco Control:
Government at Harvard University and the Scripps             Legal and Public Strategies …….......…………                      7
Institution of Oceanography. Alison Kruger of
the Union of Concerned Scientists coordinated             3. Climate Legal Strategies:
workshop logistics.
                                                             Options and Prospects ………..................…… 11
Organizational affiliations are for identification
                                                          4. Attribution of Impacts and Damages:
purposes only. The opinions expressed in this report
are the sole responsibility of the participants quoted.      Scientific and Legal Aspects …........………… 15

Acknowledgments                                           5. Public Opinion and
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Kann Rasmussen Foundation, the Mertz Gilmore
Foundation, The Grantham Foundation for the               6. Conclusion ...…..............................................… 27
Protection of the Environment, and the Martin
Johnson House at the Scripps Institution of               Endnotes ……….........................................………… 30
Oceanography. Without their generous support,
this workshop would not have been possible.

The Union of Concerned Scientists is the leading          Appendices
science-based nonprofit working for a healthy
environment and a safer world. More information           A. Workshop Agenda ………..................………… 31
about UCS is available on the UCS website at
www.ucsusa.org.                                           B. Participants ………................................………… 34

The Climate Accountability Institute engages
in research and education on anthropogenic
climate change, dangerous interference with the
climate system, and the contribution of fossil fuel
producers’ carbon production to atmospheric
carbon dioxide content. This encompasses the
science of climate change, the civil and human
rights associated with a stable climate regime not
threatened by climate-destabilizing emissions of
greenhouse gases, and the risks, liabilities, and
disclosure requirements regarding past and future
emissions of greenhouse gases attributable to
primary carbon producers.
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            Preface

       The workshop sought to compare the evolution of public attitudes
       and legal strategies related to tobacco control with those related to
       anthropogenic climate change.




      F
               or many years after scientists first con-           Specifically, the workshop sought to
               cluded that smoking causes cancer, the         compare the evolution of public attitudes and
               tobacco companies continued to win             legal strategies related to tobacco control with
       court cases by arguing, among other things,            those related to anthropogenic climate change,
       that smokers assumed the risk of smoking and           fostering an exploratory, open-ended dialogue
       that no specific cancer deaths could be attrib-        about whether we might use the lessons from
       uted to smoking. At some point, however, the           tobacco-related education, laws, and litiga-
       tobacco companies began to lose legal cases            tion to address climate change. The workshop
       against them even though the science had not           explored which changes now being observed
       substantively changed. Juries began to find the        (e.g., increasing extreme heat, sea level rise)
       industry liable because tobacco companies              can be most compellingly attributed to human-
       had known their products were harmful while            caused climate change, both scientifically and
       they publicly denied the evidence, targeted            in the public mind. Participants also considered
       youth, and manipulated nicotine levels.                options for communicating this scientific attri-
            To explore how this transformation hap-           bution of climate impacts in ways that would
       pened, and to assess its implications for people       maximize public understanding and produce
       working to address climate change, the Union           the most effective mitigation and adaptation
       of Concerned Scientists and the Climate                strategies.
       Accountability Institute brought together                   The workshop explored the degree to
       about two dozen leading scientists, lawyers            which the prospects for climate mitigation
       and legal scholars, historians, social scientists,     might improve with public acceptance (includ-
       and public opinion experts for a June 14−15,           ing judges and juries) of the causal relation-
       2012, workshop at the Scripps Institution of           ships between fossil fuel production, carbon
       Oceanography in La Jolla, CA.                          emissions, and climate change. Participants
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debated the viability of diverse strategies,                  Climate change may loom larger today in
including the legal merits of targeting carbon
                                                              the public mind than tobacco did when
producers (as opposed to carbon emitters) for
U.S.-focused climate mitigation. And finally,
                                                              public health advocates began winning
the group sought to identify the most promis-                 policy victories.
ing and mutually reinforcing intellectual, legal,
and/or public strategies for moving forward.
We are pleased to share the outcome of these                   change may loom larger today in the public
preliminary workshop discussions. Among the                    mind than tobacco did when public health
many points captured in this report, we want                   advocates began winning policy victories.
to highlight the following:                                    Progress toward a stronger public narra-
 7a[oXh[Waj^hek]^_dj^[fkXb_YWdZb[]Wb                 j_l[c_]^jX[W_Z[ZXoki[e\WÇZ_Wbe]_Y
   case for tobacco control came when inter-                   approach” in which climate advocates work
   nal documents came to light showing the                     in partnership with the public. Such a nar-
   tobacco industry had knowingly misled the                   rative must be both scientifically robust
   public. Similar documents may well exist                    and emotionally resonant to cut through
   in the vaults of the fossil fuel industry and               the fossil fuel industry’s successful efforts
   their trade associations and front groups,                  to sow uncertainty and confusion.
   and there are many possible approaches to
   unearthing them.                                                                               Naomi Oreskes
 :hWm_d]kfedj^[\ehj^Yec_d]ÇYWhXed                                       University of California−San Diego
   majors” analysis by Richard Heede, it may                                                 Peter C. Frumhoff
   be feasible and highly valuable to publicly                                     Union of Concerned Scientists
   attribute important changes in climate,                                                      Richard Heede
   such as sea level rise, to specific carbon                                     Climate Accountability Institute
   producers. Public health advocates were
                                                                                             Lewis M. Branscomb
   effective in attributing the health impacts
                                                                              Scripps Institution of Oceanography
   of smoking to major tobacco companies.
                                                                                     Angela Ledford Anderson
 M^_b[m[Ykhh[djbobWYaWYecf[bb_d]fkX-                                       Union of Concerned Scientists
   lic narrative about climate change in the
   United States, we may be close to coalesc-
   ing around one. Furthermore, climate
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        Climate Accountability, Public Opinion,
        and Legal Strategies Workshop

        Martin Johnson House, Scripps Institution of Oceanography,
        La Jolla, CA, June 14–15, 2012




   1. Introduction
       Tobacco companies realized they did not need to prove their
       products were safe. Rather, they had only to implement a
       calculated strategy to foster doubt about the science.




      F
               or decades after U.S. tobacco firms first     which specifically warned the public about
               became aware of strong scientific evi-        the link between smoking and lung cancer.1
               dence linking smoking to cancer in the        Nonetheless, the tobacco industry’s disinfor-
       mid-1950s, the industry adopted a public rela-        mation campaign continued. As internal docu-
       tions strategy that knowingly sought to con-          ments have long since revealed, the tobacco
       fuse people about the safety of its products. As      companies quickly realized they did not need
       we now know, tobacco industry lawyers long            to prove their products were safe. Rather, they
       advised their clients that if they admitted to        had only to implement a calculated strategy
       selling a hazardous product they would be vul-        to foster doubt about the science in the minds
       nerable to potentially crippling liability claims.    of the public. As one infamous internal memo
       So, despite the scientific evidence, the industry     from the Brown & Williamson company put
       developed and implemented a sophisticated             _j0Ç:ekXj_iekhfheZkYj"i_dY[_j_ij^[X[ij
       disinformation campaign designed to deceive           means of competing with the ‘body of fact’ that
       the public about the hazards of smoking and           exists in the minds of the general public.”2 The
       forestall governmental controls on tobacco            industry also managed to convince juries that
       consumption.                                          smoking was a voluntary act, that the public
            As time went on, a scientific consen-            mWim[bb_d\ehc[Ze\Çfej[dj_Wbh_iai"ÈWdZ
       sus emerged about a multitude of serious              that smokers therefore only had themselves to
       dangers from smoking. On January 11, 1964,            blame for whatever harm may have occurred.
       for instance, the U.S. government released                 It has become increasingly clear during
       the first report by the Surgeon General’s             the past decade or more that the fossil fuel
       Advisory Committee on Smoking and Health,             industry has adopted much the same strategy:
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attempting to manufacture uncertainty about                     By gathering a distinguished and com-
global warming even in the face of overwhelm-              plementary group of experts, the Climate
ing scientific evidence that it is accelerating at         Accountability Workshop created the
an alarming rate and poses a myriad of public              conditions for a well-informed discussion
health and environmental dangers. Not only                 about the history of tobacco prevention as an
has the fossil fuel industry taken a page from             example for those working on climate change:
the tobacco industry’s playbook in its efforts             exploring how science in combination with
to defeat action on climate change, it also                the law, public advocacy, and possibly new
shares with the tobacco industry a number of               technology can spur a seminal shift in public
key players and a remarkably similar network               understanding and engagement on an issue of
e\fkXb_Yh[bWj_edi\_hciWdZdedfhe\_jÇ\hedj            vital importance to the global community.
groups” that have been actively sowing disin-                   What follows is a summary of the work-
formation about global warming for years.3                 shop designed to highlight some of the major
      At this pivotal moment for climate change,           themes that emerged over the course of two
with international agreement all but sty-                  days of structured dialogue. Because the dis-
mied and governmental action in the United                 cussion was often animated and wide-ranging,
States largely stalled, the Union of Concerned             this report does not attempt to portray a com-
Scientists and the Climate Accountability                  prehensive account of all the ideas presented,
Institute sought to build a clearer understand-            but rather the key findings that emerged.
ing of the drivers of change that eventually
proved effective against the tobacco industry.
To be sure, lawyers played a huge role; scien-             When I talk to my students I always say, tobacco
tific evidence played an important role as well.           causes lung cancer, esophageal cancer, mouth
But notably, neither science nor legal strategies
                                                           cancer. . . . My question is: What is the “cancer”
alone drove the changes in public understand-
ing of the health dangers posed by smoking.                of climate change that we need to focus on?
Workshop participants were therefore asked                                                                  —Naomi Oreskes
to share their perspectives on a key question:
given the power and resources of the tobacco
industry, how were tobacco control efforts able
to finally gain traction?
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   2. Lessons from Tobacco Control:
      Legal and Public Strategies
       Both the tobacco industry and the fossil fuel industry have
       adopted a strategy of disseminating disinformation to
       manufacture uncertainty and forestall government action, and in
       so doing, have placed corporate interests above the public interest.




      W
                     orkshop participants reviewed          Americans continue to smoke, some 8 million
                     the history of tobacco control         live with a serious illness caused by their
                     in the United States to identify       smoking, and more than 400,000 die prema-
      lessons that might be applicable to action on         turely each year.5
      global warming. The first important insight                 A few principles emerged from the long
      was that the history of tobacco control efforts       fight for tobacco control. First, any legal strate-
      stretches back much further than most people          gies involving court cases require plaintiffs, a
      realize. The American Tobacco Company was             venue, and law firms willing to litigate—all of
      broken up as a result of the Sherman Anti-            which present significant hurdles to overcome.
      Trust Act of 1890, and several U.S. states            Robert Proctor generalized about the history of
      banned tobacco entirely between 1890 and              tobacco-related litigation by noting that tobac-
      1920 in response to concerns that the power-          co opponents typically won with simplicity
      ful tobacco industry was paying off legislators.      but lost in the face of complexity. As he noted,
      Those bans were all overturned after success-         _j_imehj^h[c[cX[h_d]j^Wj"ÇJ^[_dZkijho
      ful lobbying efforts by the industry, but a land-     can win by making plaintiffs have to pass a
      mark 1900 legal case (Austin v. Tennessee) set        thousand hurdles, any one of which can derail
      an important precedent by upholding the legal         the whole effort.” Second, public victories can
      right of states to ban tobacco.4                      occur even when the formal point is lost. In
           A second important insight was that the          one effort that sought to stop tobacco research
      battle for tobacco control continues today,           at Stanford University, for instance, no formal
      despite substantial gains over the past several       ban was enacted but the public outcry led the
      decades. In a point made forcefully by Robert         Philip Morris company to stop its external
      Proctor, a science historian who frequently           research programs anyway.6
      serves as an expert witness in tobacco litiga-
      j_ed"ÇJeXWYYe_idejel[h$ÈM^_b[j^[dkcX[h
                                                            The Importance of Documents in
      of cigarettes smoked worldwide may no longer
                                                            Tobacco Litigation
      be growing, an estimated 6 trillion were still        One of the most important lessons to emerge
      sold and smoked in 2012. More than 45 million         from the history of tobacco litigation is the
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value of bringing internal industry documents                     In the end, however, the documents
to light. Roberta Walburn, a key litigator in               proved crucial in helping to shift the focus of
the pathbreaking 1994 case State of Minnesota               litigation away from a battle of the experts
and Blue Cross and Blue Shield of Minnesota v.              over the science of disease causation and
Philip Morris et al. [C1-94-8565], explained                toward an investigation of the industry’s
that her legal team, with strong backing from               conduct. As Roberta Walburn explained,
C_dd[iejW7jjehd[o=[d[hWb>kX[hjÇIa_fÈ                   their legal team was able to say to the judge
Humphrey, made it a goal from the start of                  WdZ`kho"ÇOekZedÊj^Wl[jeX[b_[l[kieh
the lawsuit to use the process of legal discov-             our experts; just look at the companies’ own
ery to gain access to Philip Morris’s internal              words.” The strategy of prying documents from
documents and make them part of the public                  the industry also proved effective because
domain. Walburn noted that Humphrey was                     once a lawsuit begins, litigants are required
mocked and scorned by many of his colleagues                by law to retain evidence. The very first order
for this emphasis, but it proved critical to                issued by the judge in the Minnesota case was
achieving the landmark settlement.                          a document preservation order, which meant
     For the previous four decades, the tobacco             that the company could be held in contempt of
industry had not lost a single legal case nor               court if it failed to comply. Companies are also
been forced to release most of its internal                 required to preserve any documents they think
documents. But attorneys began to see the                   might be pertinent to possible future litigation.
tremendous value of the industry’s memos                          Today, the documents that have emerged
in an individual New Jersey smoker’s case                   from tobacco litigation have been collected
in the 1980s, and when a paralegal leaked                   in a single searchable, online repository: the
some internal documents in the early 1990s.                 so-called Legacy Tobacco Document Library
By making such documents a key part of the                  (available at legacy.library.ucsf.edu) currently
Minnesota litigation, the legal discovery pro-              contains a collection of some 80 million pages.
cess ultimately brought some 35 million pages               Stanton Glantz, a professor of cardiology at
of industry documents to light.7                            the University of California−San Francisco who
     Of course, the release of so many docu-                directs the project, noted the importance of
ments also presented immense challenges,                    the decision to create an integrated collection
requiring the legal team to pore over them                  accessible to all. One advantage of such a col-
one page at a time. The industry also went to               lection, he said, is that it becomes a magnet
great lengths to hide documents throughout                  for more documents from disparate sources.
the discovery process, listing them under dif-                    Because the Legacy Collection’s software
\[h[djYehfehWj[[dj_j_[i"ÇbWkdZ[h_d]ÈiY_-                and infrastructure is already in place, Glantz
entific documents by passing them through                   suggested it could be a possible home for a
attorneys in order to claim attorney-client                 parallel collection of documents from the fos-
privilege, and playing word games in order to               sil fuel industry pertaining to climate change.
claim they didn’t have any documents on the                 He stressed the need to think carefully about
topics sought by the plaintiffs. During pre-trial           which companies and which trade groups
discovery in the Minnesota litigation, Walburn              might have documents that could be espe-
noted, Philip Morris was spending some                      cially useful. And he underscored the point
$1.2 million dollars every week in legal defense.           that bringing documents to light must be
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       established as an objective independent of the         by marketing their products to children. The
       litigation, or else the most valuable documents        court imposed most of the requested rem-
       are not likely be made public.                         edies, and rejected the defendants’ argument
                                                              that their statements were protected by the
       Documents Helped Establish a                           First Amendment, holding that the amendment
       Conspiracy                                             Ze[idejfhej[YjÇadem_d]bo\hWkZkb[djÈijWj[-
       The release of documents from the tobacco              ments. The tobacco companies appealed the
       industry became front-page news in the 1990s.          ruling but a three-judge panel of the U.S. Court
       The headlines did not tout the fact that tobac-        of Appeals for the District of Columbia unani-
       co causes lung cancer, which had already been          mously upheld the decision in 2009.
       widely reported; instead, they focused on the
       tobacco industry’s lies to the public, its efforts     Lessons for the Climate Community
       to target children in its marketing campaigns,         One theme to emerge from this review of
       and its manipulation of the amount of nicotine         tobacco litigation was the similarity between
       in cigarettes to exploit their addictive proper-       the tobacco industry’s disinformation cam-
       ties.8 Many of these facts had not come to the         paign and the fossil fuel industry’s current
       public’s attention until the industry’s internal       efforts to sow confusion about climate change.
       documents came to light.                               7ied[fWhj_Y_fWdjfkj_j"ÇJ^[jeXWYYe\_]^j
            Most importantly, the release of these            is now the climate fight.” Both industries have
       documents meant that charges of conspiracy             adopted a strategy of disseminating disin-
       or racketeering could become a crucial com-            formation to manufacture uncertainty and
       ponent of tobacco litigation. Formerly secret          forestall governmental action, and in so doing,
       documents revealed that the heads of tobacco           have placed corporate interests above the
       companies had colluded on a disinformation             public interest. Several workshop participants
       strategy as early as 1953.9                            presented detailed evidence of the close ties
            Sharon Eubanks noted the importance               between the two industries in terms of person-
       of documents in a racketeering case against            d[b"dedfhe\_jÇ\hedj]hekfi"ÈWdZ\kdZ[hi$
       the tobacco industry she prosecuted during                  Given these close connections, many par-
       the Clinton administration. That case, U.S.A           ticipants suggested that incriminating docu-
       v. Philip Morris, Inc., was filed after President      ments may exist that demonstrate collusion
       Clinton directed his attorney general to               among the major fossil fuel companies, trade
       attempt to recover from the tobacco industry           associations, and other industry-sponsored
       the costs of treating smokers under Medicare.          groups. Such documents could demonstrate
       The Justice Department brought the case                companies’ knowledge, for instance, that the
       under the Racketeer Influenced and Corrupt             use of their products damages human health
       Organizations (RICO) statute that was origi-           WdZm[bb#X[_d]XoYedjh_Xkj_d]jeÇZWd][heki
       nally enacted to combat organized crime.               anthropogenic interference with the climate
            The U.S. District Court for the District          system.” 10
       of Columbia found Philip Morris and other                  Finally, participants agreed that most
       tobacco companies charged in the case guilty           questions regarding how the courts might rule
       of violating RICO by fraudulently covering up          on climate change cases remain unanswered.
       the health risks associated with smoking and           Most participants also agreed that pursuing a
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legal strategy against the fossil fuel industry
would present a number of different obstacles
and opportunities compared with those faced
by litigants in the tobacco cases. As Roberta
Walburn noted, however, both efforts do
share an important public interest imperative:
ÇF[efb[^Wl[X[[d^Whc[ZWdZj^[h[i^ekbZX[
`kij_Y["Èi^[iW_Z$Ç?\oekmWdjjeh_]^jWmhed]
you have to be bold.”
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   3. Climate Legal Strategies: Options
      and Prospects
       Tobacco started with a small box of documents. We used that to
       wedge open a large pattern of discovery. . . . It looks like where
       you are with climate is as good as it was with tobacco—probably
       even better. I think this is a very exciting possibility.
                                                                                        —Stanton Glantz




       A
                  wide variety of potential legal strate-     Strategies to Win Access to
                  gies were discussed at the workshop.        Internal Documents
                  Participants agreed that a variety of
                                                              Having attested to the importance of seek-
       different approaches could prove successful
                                                              ing internal documents in the legal discovery
       in spurring action and engaging the public on
                                                              phase of tobacco cases, lawyers at the work-
       global warming, with suggestions ranging from
                                                              shop emphasized that there are many effective
       lawsuits brought under public nuisance laws
                                                              avenues for gaining access to such documents.
       (the grounds for almost all current environ-
       mental statutes) to libel claims against firms             First, lawsuits are not the only way to win
       and front groups that malign the reputations of        the release of documents. As one participant
       climate scientists.                                    noted, congressional hearings can yield docu-
             Several participants warned of the poten-        ments. In the case of tobacco, for instance,
       tial polarizing effect of lawsuits. While it is        j^[_d\WcekiÇ:ekXj_iekhfheZkYjÈZeYk-
       never an easy decision to bring a lawsuit, they        ment came out after being subpoenaed by
       noted, litigants must understand that if they          Congress.11 State attorneys general can also
       pursue such a course they should expect a              subpoena documents, raising the possibility
       protracted and expensive fight that requires           that a single sympathetic state attorney gen-
       careful planning. Among the issues discussed           eral might have substantial success in bringing
       were the importance of seeking documents in            key internal documents to light. In addition,
       the discovery process as well as the need to           lawyers at the workshop noted that even grand
       choose plaintiffs, defendants, and legal rem-          juries convened by a district attorney could
       edies wisely. Another issue of concern was             result in significant document discovery.
       the potential for a polarizing lawsuit to slow             Jasper Teulings, general counsel for
       the broad cultural shift in public perception          Greenpeace International, emphasized that the
       (see section 5).                                       release of incriminating internal documents
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from the fossil fuel industry would not only               responsible.” Because Exxon and the other
be relevant to American policy but could have              corporate defendants in the Kivalina case are
widespread international implications.                     indisputably large emitters of heat-trapping
                                                           ]Wi[i"FWmWiW_Z^[m_bbWh]k[j^Wjj^[oÇWh[
Importance of Choosing Plaintiffs,                         basically like the two guys outside that bar.” To
Defendants, and Legal Remedies                             help with his argument of causation, Pawa will
Matt Pawa, a leading litigator on climate-                 also argue that Exxon and the other defendants
related issues, discussed his current case,                distorted the truth. He said that litigation not
Kivalina v. ExxonMobil Corporation, et al., now            only allows him to pursue a remedy for some
pending on appeal. The lawsuit, brought under              of those most vulnerable to the effects of cli-
public nuisance law, seeks monetary damages                cWj[Y^Wd]["XkjWbiei[hl[iWiÇWfej[dj_Wbbo
from the energy industry for the destruc-                  powerful means to change corporate behavior.”
tion of the native village of Kivalina, AK, by                  Jasper Teulings recounted the unusual
coastal flooding due to anthropogenic climate              and controversial case in which Greenpeace
change. Damages have been estimated by the                 International helped representatives from
U.S. Army Corps of Engineers and the U.S.                  Micronesia—an island nation threatened by
Government Accountability Office between                   rising sea levels—request a transboundary
$95 million and $400 million.                              environmental impact assessment (TEIA) in
      The suit was dismissed by a U.S. district            the Czech Republic, hoping to prevent the
court in 2009 on the grounds that regulating               Czech government from granting a 30-year
global warming emissions is a political rather             permit extension for a coal-fired power plant.
than a legal issue that needs to be resolved by            That action, he said, led to a national debate
Congress and the executive branch rather than              about global warming in a country led by a
the courts. An appeal was filed with the Ninth             climate skeptic, and the Czech environment
Circuit Court of Appeals in November 2009,                 minister ultimately resigned as a result. The
but was rejected in September 2012. The plain-             case also drew the attention of the interna-
tiffs have yet to determine whether to take                tional media, including the Wall Street Journal,
further legal action, either by calling for an en          Economist, and Financial Times.12
banc review of the appeal verdict or by re-filing               Participants weighed the merits of legal
the case in state court.                                   strategies that target major carbon emitters,
      Pawa noted that in representing Kivalina,            such as utilities, versus those that target car-
he chose a plaintiff whose stake in the case is            bon producers, such as coal, oil, and natural gas
patently evident, as is the harm that has come             companies. In some cases, several lawyers at
to the village. Because those facts remain                 the workshop noted, emitters are better tar-
largely beyond dispute, it puts the focus of the           gets for litigation because it is easy to estab-
case squarely on attributing the damage to                 lish their responsibility for adding substantial
the defendants. Pawa has used the principle                amounts of carbon to the atmosphere. In other
e\Ç`e_djWdZi[l[hWbÈb_WX_b_jo"m^_Y^_d^_i           cases, however, plaintiffs might succeed in
mehZi^ebZij^Wj"Ç?\jme]koiWh[ekji_Z[W             cases against the producers who unearthed
bar and the plaintiff gets beaten up and only              the carbon in the first place.
one technically does it but both of them                        In lawsuits targeting carbon producers,
collude in the activity, they can both be held             lawyers at the workshop agreed, plaintiffs need
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       to make evidence of a conspiracy a prominent           public relations memos from the group and
       part of their case. Richard Ayres, an experi-          asked whether a false advertising claim could
       enced environmental attorney, suggested that           be brought in such a case. Lawyers at the
       the RICO Act, which had been used effectively          workshop said that public relations documents
       against the tobacco industry, could similarly be       could probably be used as evidence in such
       used to bring a lawsuit against carbon produc-         a case but they cautioned that courts view
       ers. As Ayres noted, the RICO statute requires         claims designed to influence consumer behav-
       that a claimant establish the existence of a           ior differently than they do those designed to
       ÇYh_c_dWb[dj[hfh_i["ÈWdZWjb[WijjmeWYjie\       influence legislative policy.
       racketeering (with at least one having occurred            Some lawyers at the workshop did note
       within the past four years). It is not even clear,     that historical false advertising claims could
       he added, whether plaintiffs need to show              be deemed relevant, especially if plaintiffs
       they were actually harmed by the defendant’s           can show that the conduct has continued. In
       WYj_edi$7i7oh[ifkj_j"ÇH?9E_idej[Wio$?j       tobacco litigation, for example, plaintiffs have
       is certainly not a sure win. But such an action        successfully gone back as far as four decades
       would effectively change the subject to the            for evidence by establishing the existence of a
       campaign of deception practiced by the coal,           continuing pattern by the tobacco industry.
       gas, and oil companies.”                                   Joe Mendelson, director of climate policy
           The issue of requesting an appropriate             at the National Wildlife Federation, suggested
       legal remedy was also discussed. As one of             that such a strategy might be employed to
       j^[mehai^efÊibWmo[hiiW_Z"Ç7im[j^_da              take on the coal industry’s advertising
       about litigation, we need to consider: what            campaign, which has targeted swing states
       does our carbon system look like with climate          whose attorneys general are unlikely to call
       stabilization? It has to be something positive.        out the ads’ distortions. Such a legal case,
       Only then can we figure out what strategies            Mendelson explained, might achieve a victory
       we need to pursue.” As important as this broad         in terms of public education and engagement.
       vision of a legal remedy is, this participant also
       emphasized the advantage of asking courts to           Libel suits
       do things they are already comfortable doing,          Lawyers at the workshop noted that libel law-
       dej_d]j^Wj"Ç;l[d_\oekhkbj_cWj[]eWbc_]^j        suits can be an effective response to the fossil
       be to shut down a company, you still might be          fuel industry’s attempts to discredit or silence
       wise to start out by asking for compensation           atmospheric scientists. Pennsylvania State
       for injured parties.”                                  University’s Michael Mann, for instance, has
                                                              worked with a lawyer to threaten libel lawsuits
       Other Potential Legal Strategies                       for some of the things written about him in the
       False advertising claims                               media, and has already won one such case in
       Naomi Oreskes, a historian of science at the           Canada. Matt Pawa explained that libel cases
       University of California–San Diego, brought up         merely require the claimant to establish fal-
       the example of the Western Fuels Association,          i_jo"h[Yab[iid[ii"WdZ^Whc$ÇM^WjYekbZX[
       an industry-sponsored front group that has run         more harmful than impugning the integrity of
       ads containing demonstrably false informa-             a scientist’s reputation?” Pawa asked. Roberta
       tion. Oreskes noted that she has some of the           Walburn noted that libel suits can also serve
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to obtain documents that might shed light on                or corporations. Wood said that while the atmo-
industry tactics.                                           spheric trust lawsuits are just starting, some
                                                            22 amicus briefs (in which law professors from
Atmospheric trust litigation
                                                            around the country argue that the approach is
Mary Christina Wood, professor of law at the
                                                            legally viable) have already been filed.
University of Oregon, discussed her involve-
ment with so-called atmospheric trust litiga-               Disagreement about the Risks
tion, a legal strategy she pioneered that is                of Litigation
now unfolding in all 50 states. The goal of the
                                                            Despite widespread endorsement by workshop
litigation—to force massive reforestation and
                                                            participants of the potential value in pursuing
soil carbon sequestration that would return the
                                                            legal strategies against the fossil fuel industry,
planet to a sustainable level of atmospheric
                                                            some of the lawyers present expressed concern
carbon dioxide (350 parts per million)—is
                                                            about the risks entailed should these cases be
grounded in the internationally recognized prin-
                                                            beij$7ied[fWhj_Y_fWdjfkj_j"ÇM[^Wl[l[ho
ciple known as the Public Trust Doctrine, first
                                                            powerful laws and we need to think strategi-
enunciated by the Roman Emperor Justinian.
                                                            cally about them so they won’t be diminished
      Under this doctrine, a state or third-party
                                                            by the establishment of a legal precedent or by
corporation can be held liable for stealing
                                                            drawing the attention of hostile legislators who
from or damaging a resource—in this case, the
                                                            might seek to undermine them.”
atmosphere—that is held as a public trust. The
                                                                  Others, such as Sharon Eubanks, took
beneficiaries in the case are citizens—both
                                                            _iik[m_j^j^_if[hif[Yj_l[$Ç?\oek^Wl[WijWj-
current and future—who claim that the defen-
                                                            kj["oeki^ekbZki[_j"Èi^[iW_Z$ÇM[^WZj^[
dants (the state or federal government or third-
                                                            case where people said, ‘What if you screw
party corporations) have a duty to protect and
                                                            up RICO?’ But no matter what the outcome,
not damage that resource, which they oversee
                                                            litigation can offer an opportunity to inform
or for which they bear some responsibility.
                                                            the public.” Stanton Glantz concurred with this
      Wood noted that this legal action has sev-
                                                            Wii[iic[dj$7i^[fkj_j"Ç?YWdÊjj^_dae\Wdo
eral promising features: it is being brought by
                                                            tobacco litigation that backfired; I can’t think
children, can highlight local impacts of climate
                                                            of a single case where litigation resulted in bad
change because it is being brought in every
                                                            law being made.”
state, and is flexible enough to be brought
against states, tribes, the federal government,
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   4. Attribution of Impacts and Damages:
      Scientific and Legal Aspects
       Why should taxpayers pay for adaptation to climate change?
       That is a sound bite that I don’t hear used. Why should
       taxpayers bear the risk? Perhaps that question alone can help
       shift public perception.                             —Myles Allen




       S
               everal sessions at the workshop              than what’s happening now. As a result, he
               addressed a variety of vexing issues         said, people too often tend to perceive climate
               concerning the extent to which local-        change as a problem for our grandchildren.
       ized environmental impacts can be accurately
       attributed to global warming and how, in turn,       Challenges of Attributing
       global warming impacts might be attributed to        Environmental Effects to
       specific carbon emitters or producers. Many          Anthropogenic Climate Change
       challenges are involved in these kinds of link-      Several of the climate scientists at the meeting
       ages, from getting the science right to commu-       addressed the scientific challenges involved in
       nicating it effectively.                             attributing specific environmental effects to
            Myles Allen, a climate scientist at Oxford      anthropogenic climate change. For example,
       University, suggested that while it is laudable      global warming, natural variability, population
       to single out the 400 Kivalina villagers, all        exposure, and population vulnerability are all
       7 billion inhabitants of the planet are victims      factors in the disasters that make headlines.
       of climate change. He noted, for instance,           Myles Allen noted that while scientists can
       that while the United Nations Framework              accurately speak about increases in average
       Convention on Climate Change makes an                global temperature, such large-scale tempera-
       inventory of global warming emissions, it does       ture measurements are difficult to link to spe-
       not issue an inventory of who is being affected.     cific individuals.
       7i^[fkj_j"ÇM^oi^ekbZjWnfWo[hifWo\eh              Claudia Tebaldi, a climate scientist at
       adaptation to climate change? That is a sound        Climate Central, emphasized the problem
       bite that I don’t hear used. Why should taxpay-      e\Yed\ekdZ_d]\WYjehi0Ç?\oekmWdjje^Wl[
       ers bear the risk? Perhaps that question alone       statistically significant results about what has
       can help shift public perception.”                   already happened [on the health impacts of
            Allen also noted that the scientific commu-     Yb_cWj[Y^Wd][S"Èi^[iW_Z"Çm[Wh[\Wh\hec
       nity has frequently been guilty of talking about     being able to say anything definitive because
       the climate of the twenty-second century rather      the signal is so often overwhelmed by noise.”
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     Given that nearly all consequences have                Absolutely crucial is real progress on
multiple causes, Tebaldi reviewed the dif-
                                                            regional and local consequences of climate
ficulties entailed in efforts at so-called single-
step attribution (in which a single variable is
                                                            change. We have general notions that
added or removed from a model), multi-step                  the Southwest will be drier. But once the
attribution (in which two or more attribution               science is able to say with conﬁdence what
linkages are drawn), and associative patterns               will happen in the states of Colorado and
of attribution (in which linkages are mapped
                                                            Arizona, then the people who live there will
over time in order to detect possible pat-
terns). She noted that the authors of the 2007
                                                            want to pressure their representatives to ﬁx
Intergovernmental Panel on Climate Change                   their problem. Then political people will be
report were relatively comfortable attributing              much more responsive to the issue. That will
certain environmental phenomena to climate                  be real progress in the next few years.
change: changes in snow/ice/frozen ground;
increased runoff and anticipated snowmelt                                                                       —Lew Branscomb
in spring; warmer water temperatures and
changes in salinity, oxygen levels, and ocean
acidification. But she added that it is still hard          by Stefan Rahmstorf and Dim Coumou, who
to say anything statistically significant about             found an 80 percent probability that the July
some key areas of concern.                                  2010 heat record would not have occurred
     Climate scientist Mike MacCracken                      without global warming.13
expressed more optimism about the ability of                     Others agreed that many different types of
scientists to identify patterns of changes. The             aggregate findings can be useful. Paul Slovic,
traditional view, he explained, is that one can-            for instance, cited the example of the book At
not attribute a single weather event to human-              War with the Weather by Howard Kunreuther.
induced climate change, but climate change                  In studying economic losses from natural
reflects a difference in the frequency and                  disasters, Kunreuther found an exponential
intensity of weather events from the past—                  increase in losses incurred over the last 10 or
that is how the term is defined. So, as the                 20 years.14 Again, multiple factors need to be
distribution of weather events changes, we are              teased apart, such as the growth in population
seeing an increasing likelihood of what were                exposed to natural disasters, increased infra-
once very rare events, but are likely to become             structure replacement costs, natural variability,
much more frequent.                                         and the influence of climate change.15
     Myles Allen agreed that scientists could                    Mike MacCracken suggested that issues
be far more confident about a group of                      related to the science itself are distinct from
events rather than a single event, but noted,               how findings should be communicated to the
ÇJ^[doekWh[jWba_d]W]W_dWXekjYb_cWj[QWi              fkXb_Y$ÇJ^[Y^Wbb[d]["È^[iW_Z"Ç_i\_dZ_d]Wd
opposed to weather]. We can say with confi-                 effective lexicon that scientists are comfort-
dence how the risks are changing. Absolutely.               able with.” Along these lines, one participant
And some harms can be caused by change                      suggested that it could be helpful to com-
in risk. But we are still talking about prob-               municate findings framed as a discussion.
abilities.” As an example, Allen cited work                 For example, a farmer could ask a question
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       iWo_d]"Ç?ÊcYedY[hd[ZX[YWki[?Êci[[_d]            95 percent is needed. That is a social conven-
       this [particular local weather].” The scientist       tion. Statistics are often used when we don’t
       YWdYec\ehjWXboh[ifedZ0ÇOekÊh[h_]^jjeX[         understand the mechanisms of causation. But
       concerned because we are seeing this, this, and       what if we do know what the mechanisms are?
       this [aggregate effect or strong probability of       For instance, if we know how a bullet kills a
       anthropogenic warming].”                              human, we don’t need statistics to prove that
            Lew Branscomb, a physicist, governmental         bullets can kill.”
       policy expert, and one of the meeting’s orga-              Oreskes went on to note that scientific
       nizers, suggested that the evolution of climate       knowledge in the field of climate science is
       science is an important issue. As he put it,          very robust—more robust than in many other
       Ç7Xiebkj[boYhkY_Wb_ih[Wbfhe]h[iiedh[]_edWb     fields such as plate tectonics or relativity. This
       and local consequences of climate change. We          observation led her to wonder why climate
       have general notions that the Southwest will be       scientists have been so reticent about commu-
       drier. But once the science is able to say with       nicating their results, and to postulate that in
       confidence what will happen in the states of          WYY[fj_d]ikY^W^_]^ijWdZWhZe\fhee\"ÇJ^[
       Colorado and Arizona, then the people who live        scientific community has been influenced by
       there will want to pressure their representatives     push-back from industry.”
       to fix their problem. Then political people will           Stanton Glantz drew a comparison to his
       be much more responsive to the issue. That will       work with the Centers for Disease Control
       be real progress in the next few years.”              establishing a link between smoking and breast
                                                             YWdY[h$Ç?\ek]^j9:9edj^[b_daiX[jm[[d
       Determining Appropriate Standards                     icea_d]WdZXh[WijYWdY[h"È^[h[YWbb[Z$ÇJ^[h[
       of Evidence                                           were 17 studies. How could you make a state-
       A discussion arose at the workshop about the          ment that there was no link? The epidemiolo-
       appropriate standard of evidence required             gists focus on statistics but we already knew
       when attributing specific environmental phe-          about the biology of breast cancer and damage
       nomena to global warming and establishing             to DNA and links to tobacco. My argument
       the culpability of carbon emitters and produc-        was that you needed to look at a whole body of
       ers. Naomi Oreskes noted the important differ-        evidence. . . . We compared the breast cancer
       ences among standards of evidence in science,         evidence, which is stronger than the original
       in law, and in public perception.                     lung cancer evidence, and that got accepted
            7ii^[[nfbW_d[Z"ÇM^[dm[jWa[j^[i[           and became the default position. But the fact is,
       things to the public, I think we often make a         not everyone who smokes gets cancer.”
       category error. We take a standard of evidence             For climate change, Glantz said, all the
       applied internally to science and use it exter-       pieces fit together and they represent a consis-
       nally. That’s part of why it is so hard to com-       tent body of evidence. He added that criminal
       municate to the public.” Oreskes pointed out          jh_Wbiki[j^[ijWdZWhZe\ÇX[oedZWh[WiedWXb[
       j^Wjj^[Ç/+f[hY[djfhee\hkb[Èm_Z[boWYY[fj-       ZekXj$È8kjWi^[fkj_j"ÇIY_[dj_iji^Wl[X[[d
       ed among scientists might not be appropriate          making the ‘reasonable doubt’ standard higher
       in this application. That standard of proof,          and higher.”
       i^[iW_Z"Ç_idejj^[;b[l[dj^9eccWdZc[dj$               Some of the scientists at the workshop,
       There is nothing in nature that taught us that        however, took issue with the idea that they
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ought to apply different standards of proof                annual reports and other public sources of
to their work. Claudia Tebaldi, for instance,              information from the energy sector, Heede is
h[ifedZ[Z"Ç7iWiY_[dj_ij?d[[Zje^Wl[jme             working to derive the proportion of the planet’s
different standards? I don’t see that. I am not            atmospheric carbon load that is traceable
convinced that I should lower my standards of              to the fossil fuels produced and marketed
skepticism when I talk to the public. As a sci-            by each of these companies annually from
entist I give you the probability. It is not my job        1864 to 2010. The work deducts for carbon
to change my paper if the consequences are so              sequestered in non-energy products such as
bad. That is the job of a policy maker working             petrochemicals, lubricants, and road oil, and
with my results.”                                          quantifies annual and cumulative emissions
      Mary Christina Wood reminded the group               to the atmosphere attributable to each com-
that the medical profession is adept at juggling           pany. The research is still awaiting peer review
two very different standards: the standard of              before it can be finalized and publicized.
proof and the standard of care, and suggested                   Most of the workshop’s participants
that climate scientists might be able to do                responded positively to Heede’s research. Matt
something similar. Dick Ayres agreed, empha-               Pawa thought the information could prove
i_p_d]j^Wj"ÇJee^_]^WijWdZWhZe\fhee\                quite useful in helping to establish joint and
increases the burden on those who seek to                  several liability in tort cases, but he cautioned
protect public health.”                                    that, in practice, a judge would likely hesitate
      Myles Allen noted that a key problem                 to exert joint and several liability against a
WbmWoiYec[iXWYajej^[_iik[e\ZekXj$Ç?\              carbon-producing company if the lion’s share
you grab a scientist off the street and ask                of carbon dioxide in the atmosphere could
whether we could have had this weather event               not be attributed to that company specifically.
without global warming, they will likely say               Nevertheless, he said this kind of accounting
yes, it could have been possible. So the reality           would no doubt inspire more litigation that
is that there will always be a scientist available         could have a powerful effect in beginning to
to fill that role in the court of law.” The vexing         change corporate behavior.
j^_d]"7bb[diW_Z"_iÇjho_d]jecWa[Yb[Whjej^[             Other participants reacted positively to
public that there are two uncertainties. We can            other aspects of Heede’s research. Angela
be very certain about what is happening and                Anderson, director of the climate and energy
yet very uncertain about what is going to hap-             program at the Union of Concerned Scientists,
pen tomorrow or next year.”                                noted for instance that it could potentially
                                                           be useful as part of a coordinated campaign
Attributing Environmental Damage to                        je_Z[dj_\oa[oYb_cWj[Çmhed]Ze[hi$ÈCWho
Carbon Producers                                           Christina Wood agreed, saying the preliminary
Richard Heede, co-founder and director of the              data resonated strongly with her, making her
Climate Accountability Institute, presented a              \[[bb_a[ÇFebbkj[hiZ_Zj^_iWdZj^[od[[Zje
preview of a research project several years in             clean this up.” Other participants noted that
the making, in which he has been quantifying               it could be helpful in the international realm
the annual and cumulative global warming                   by changing the narrative that currently holds
emissions attributable to each of the world’s              nations solely responsible for the carbon emit-
major carbon producers. By closely reviewing               ted by parties within their own borders. Finding
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       the specific companies responsible for emis-         agreed in principle but said the calculations
       sions, they said, cuts a notably different way.      required, while not complicated, were easy
            One concern raised was that some in the         to get wrong.
       Ç7c[h_YWdc_ZZb[Èc_]^jf[hY[_l[_jWikd\W_h            Whether or not the attribution would hold
       to go after a company that didn’t know carbon        up in court, Stanton Glantz expressed some
       dioxide was harmful for much of the extended         enthusiasm about such a strategy, based on
       period Heede reviewed. To get a sense of this,       his experience with tobacco litigation. As he
       some suggested reaching out to someone               fkj_j"Ç?mekbZX[ikhfh_i[Z_\j^[_dZkijho
       like public opinion specialist Tony Leiserowitz      chose to attack the calculation that one foot
       who could undertake polling to see how such          of flooding in Key West could be attributed to
       research might be received by different seg-         ExxonMobil. They will not want to argue that
       ments of the public.                                 you are wrong and they are really only respon-
            Robert Proctor suggested that the most          sible for one half-foot. That is not an argument
       effective public communication about the             they want to have.” For similar reasons, he
       research would use the simplest formulation          said, tobacco companies have never chal-
       possible. One effective strategy in the fight        b[d][ZZ[Wj^[ij_cWj[i"dej_d]"ÇJ^[_hFHf[e-
       against tobacco, he observed, was equating a         ple tell them not to do that, focusing instead
       year’s production of cigarettes in a particular      on more general denial and other tactics.”
       factory to a number of deaths. Anti-tobacco
       activists determined that there was one              Evidence of Collusion and Prospects
       smoking-related death for every one million          for Constructive Engagement
       cigarettes produced. As Proctor explained,           Participants at the workshop also discussed
       given that the industry made roughly one cent        one other aspect of attribution: the close
       in profit per cigarette, that meant a company        connections among climate change deniers,
       such as Philip Morris made $10,000 in profit         the fossil fuel industry, and even the tobacco
       for every death its products caused. Proctor         companies. John Mashey, a computer scientist
       suggested a similar strategy could be adapted        and entrepreneur who has meticulously ana-
       to link the largest corporate carbon producers       lyzed climate change deniers, presented a
       to specific climate impacts. If numbers could        brief overview of some of his research, which
       be generated for how many deaths per year            traces funding, personnel, and messaging
       were caused by each degree rise in global tem-       connections between roughly 600 individuals
       perature, for instance, a similar case could be      and 100 organizations in the climate change
       made against a particular company that pro-          denial camp.16 Mashey noted that looking
       duced or emitted a known percentage of the           closely at the relationships between these par-
       carbon load contributing to global warming.          ties—via documents, meetings, e-mails, and
            Picking up on this notion, Naomi Oreskes        other sources—can help clarify the extent of
       suggested that some portion of sea level rise        collusion involved in sowing confusion on the
       could be attributed to the emissions caused          issue. Mashey cited, for instance, memos
       by a single carbon-producing company. In             j^Wj^Wl[ikh\WY[Z\hecW'//.ÇYb_cWj[
       [ii[dY["i^[ik]][ij[Z"ÇOekc_]^jX[WXb[je       denial” plan involving most of the major
       say, ‘Here’s Exxon’s contribution to what’s hap-     oil companies (under the auspices of the
       pening to Key West or Venice.’” Myles Allen          American Petroleum Institute) that set the
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stage for much of the disinformation of the                     Some veterans of the tobacco control
past 10 years.17                                           campaign voiced skepticism, however. Stanton
     A number of participants ultimately                   Glantz recalled two instances in which activists
agreed that the various linkages and attribu-              sought engagement with the industry. In one,
tion data could help build a broad public                  the National Cancer Institute met with tobacco
narrative along the following lines:                       companies to try to persuade them to make
  M[^Wl[Wi[h_ekifheXb[cWii^emdXo                b[iiZWd][hekiY_]Wh[jj[i$ÇJ^[jeXWYYeYec-
    the science)                                           panies used it as an opportunity to undertake
 M[ademj^[f[efb[h[ifedi_Xb[Wh[j^[                 intelligence gathering about health groups and
   same ones responsible for a campaign of                 it was a disaster,” he recalled. Glantz did note
   confusion                                               a fundamental difference between tobacco and
                                                           climate change, however: while tobacco com-
 J^[h[Wh[iebkj_edi"Xkjm[YWdÊj][jje
                                                           panies offer no useful product, he explained,
   them because of the confusion these com-
                                                           ÇJ^[\WYj_im[Zed[[Ziec[\ehce\[d[h]o$
   panies have funded
                                                           Unless other alternative energy firms replace
     Finally, there was some fundamental dis-              the current carbon producers, which seems
agreement over the potential for engagement                unlikely, at some point there will likely have
with the fossil fuel industry. Richard Heede               to be some kind of positive engagement. Less
[nfh[ii[Zefj_c_ic"iWo_d]"Ç?mekbZbel[                 clear, however, is how best to create a political
to envision constructive engagement with                   environment for that engagement to work.”
industry. That would mean convincing them to
participate in a plan that ‘could make life worth
living for future generations.’”
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   5. Public Opinion and Climate
      Accountability
       The watershed moment was the congressional hearing when
       the tobacco companies lied and the public knew it. If that had
       occurred earlier, the public might not have so clearly recognized
       that the executives were lying. My question is: What do we know
       about how public opinion changed over time?
                                                                                     —Peter Frumhoff




       T
                hroughout several sessions, workshop        mind without any assistance from the fossil
                participants discussed and debated          fuel industry or other climate change deniers.
                the role of public opinion in both
       tobacco and climate accountability. It was           The Importance of Creating a Public
       widely agreed that, in the case of tobacco           Narrative
       control, a turning point in public perception        Jim Hoggan, a public relations expert and co-
       YWc[Wjj^['//*ÇMWncWd^[Wh_d]iÈedj^[           founder of DeSmogBlog.com, explained the
       regulation of tobacco products.18 On this highly     fheXb[cj^_imWo0ÇJ^[fkXb_YZ[XWj[WXekj
       publicized occasion, a broad swath of the            climate change is choked with a smog of
       populace became aware that the heads of the          misinformation. Denial and bitter adversarial
       major tobacco companies had lied to Congress         rhetoric are turning the public away from the
       and the American public. Naomi Oreskes said          issue. Communicating into such high levels of
       tobacco litigation helped make this public nar-      public mistrust and disinterest is tricky. We
       rative possible.                                     need to do some research into a new narra-
            Participants grappled with the question of      tive.” Hoggan emphasized the importance of
       how climate advocates might create a similar         b_da_d]j^[_dZkijhoÊiÇkd`kijc_i_d\ehcWj_edÈ
       narrative for global warming. While there was        back to an overall narrative about sustain-
       a good deal of debate about exactly what such        ability, rather than getting mired in issues of
       a narrative should be, there was widespread          whose fault climate change is and who should
       agreement that the public is unlikely to be          do what to ameliorate the situation. Noting the
       spurred into action to combat global warm-           fact that there is broad and deep support for
       ing on the basis of scientific evidence alone.       clean energy, Hoggan suggested the following
       Furthermore, climate change science is so            dWhhWj_l[0Ç9eWb"e_b"WdZ]WiYecfWd_[iWh[
       complex that skeptics within the scientific          engaging in a fraudulent attempt to stop the
       community can create doubts in the public            development of clean energy.”
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     Many participants agreed about the                    Here is one possibility for a public narrative:
importance of framing a compelling public
                                                           “Coal, oil, and gas companies are engaging in a
narrative. Dick Ayres added that the simple
act of naming an issue or campaign can
                                                           fraudulent attempt to stop the development of
be important as well. After acid rain legi-                clean energy.”
slation passed in 1990, he recalled, an                                                                          —Jim Hoggan
_dZkijhobeXXo_ijjebZ^_c"ÇOekmedj^_i
fight 10 years ago when you chose to use
the words ‘acid rain.’”
     Paul Slovic, a psychologist and expert                     J^_iZ_\\[hi\hecÇZeec#WdZ#]beecÈ
on risk perception, cited his colleague Daniel             discussions about climate change, which can
Kahneman’s book Thinking, Fast and Slow,                   tend to turn people off rather than instilling
which has shown that people often tend to                  dread. The difference is that climate change
make snap judgments rather than stopping to                risks seem diffuse—distant in both time and
analyze.19 Though a degree of slow thinking is             location. The situation is even more compli-
necessary to comprehend climate change, he                 cated, Slovic added, by the fact that when
said, people instead tend to go with their quick           people receive a benefit from an activity, they
first impressions.                                         are more inclined to think the risk that activ-
      Having reviewed two boxes of documents               ity carries is low. If they receive little benefit,
obtained from tobacco marketers by the                     they tend to think the risk is higher. As he
Justice Department for its RICO case against               [nfbW_d[Z"ÇJ^[WYj_l_j_[ij^WjYedjh_Xkj[je
the tobacco companies, Slovic became con-                  climate change are highly beneficial to us. We
vinced that the industry was decades ahead of              love them; we are addicted to them.” That, he
academic psychologists in understanding the                said, makes the problem of communicating the
interplay of emotion and reason in decision                dangers of climate change all the more difficult.
making. The sophistication of the cigarette
makers’ approach showed, he said, in the                   Reaching People “Where They Live”
effectiveness with which they used images                  Several participants emphasized the phenom-
of beautiful people doing exciting things, or              enon of cultural cognition, including work on
mehZib_a[ÇdWjkhWbÈWdZÇb_]^jÈj^WjYedl[o[Z            j^[ikX`[YjXo:WdAW^WdWjOWb[BWmIY^eeb$20
health (in response to mounting evidence of                Cultural cognition research suggests that we
smoking’s link to lung cancer).                            all carry around with us a vision of a just social
      Slovic emphasized that there are huge dif-           order for the world in which we live. Kahan’s
ferences between tobacco and climate risks.                work identifies a major division between those
Ç;l[ho^WpWhZ_ikd_gk["m_j^_jiemdf[hiedWb-            who tend toward a worldview based on struc-
_jo"iejeif[Wa"È^[iW_Z$Ç:e[i_jfei[Wh_ia          ture and hierarchy, and those who tend toward
to future generations? Does it evoke feelings of           a worldview based on egalitarianism. Another
dread? Those differences can make an impact                axis is individualism versus communitarian-
on strategy.” The feeling of dread, specifically,          ism (i.e., whether a higher value is placed on
was an important feature in people’s percep-               the welfare of the individual or the group). In
tion of tobacco risks, since they equated smok-            Kahan’s conception, all of us have a blend of
ing with lung cancer.                                      such attributes.
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                     Attitudes on climate change are highly           while 80 percent of those in the hierarchical/
                correlated with these views. As a result, it is       individualist camp believe experts disagree
                difficult to change people’s views on the issue       about climate change. To overcome that bar-
                because, when they receive information, they          rier, UCS staff responsible for communicating
                tend to spin it to reflect their favored world-       about climate change began experimenting, in
                view. In light of this research, several par-         one case addressing an issue of great concern
                ticipants expressed concern that a revelation         to a very specific constituency: the correlation
                about documents from oil companies might              between August high school football practices
                not work to change many minds, given the              in Texas and an increase in heat stroke among
                power of such pre-existing worldviews.                the student athletes.
                     Brenda Ekwurzel, a climate scientist at                This effort, launched to coincide with the
                the Union of Concerned Scientists (UCS),              first week of football practice in Texas and
                recounted her organization’s experience               Oklahoma, proved remarkably successful,
                with this variable, explaining that UCS, as a         Ekwurzel said, drawing local media attention in
                science-based organization, contends with an          a region the organization rarely reached. It also
                Ç_d\ehcWj_ed\_h[^ei[Èm^[d_jYec[ijeYb_-         encouraged commentary from a different set
                cWj[Y^Wd][$7ii^[fkj_j"ÇM[bel[ZWjW$M[        of voices than those who normally talk about
                scientists tend to focus on the frontal lobe and      global-warming-related issues, such as medi-
                we need communications folks to remind us             cal professionals. It may have been a coinci-
                that there are other parts of our brain too.” She     dence, Ekwurzel admitted, but within six weeks
                said she always wants to begin a discussion by        of this campaign the state of Texas decided
                iWo_d]"ÇB[jÊijWbaWXekjYb_cWj[Y^Wd][$È8kj       to scale back high school football practices in
                that, it turns out, is not necessarily the best       the summer—and the message about the con-
                starting point—she has learned that it’s better       sequences of warmer summers in the region
                jeijWhjm_j^0ÇB[jÊijWbaWXekjm^WjoekYWh[       reached a largely untapped audience for UCS.21
                about most.” The answer is likely to be family,
                friends, livelihood, health, and recreation.          Identifying Wrongdoers
                     Ekwurzel highlighted polling data that           Participants at the workshop also discussed
                have shown some 77 percent of people in               the benefits and risks associated with identify-
                Kahan’s egalitarian/communitarian sector              ing wrongdoers as part of a public narrative.
                believe experts agree about climate change,           Some participants, such as Paul Slovic, argued
                                                                      that this could prove an effective strategy.
                                                                      Slovic cited research by Roy Baumeister and
                                                                      Brad Bushman suggesting that, when it comes
Every hazard is unique, with its own personality,                     jec[iiW][i"ÇXWZ_iijhed][hj^Wd]eeZÈÆW
so to speak. Does it pose a risk to future                            finding that helps explain the tendency toward
generations? Does it evoke feelings of dread?                         negative advertising in political campaigning.22
Those differences can make an impact on                               9bWkZ_WJ[XWbZ_iW_Zi^[X[b_[l[ZÇj^[h[_iW
                                                                      big difference between convincing people there
strategy.
                                                                      is a problem and mobilizing them. To mobilize,
                                                 —Paul Slovic         people often need to be outraged.”
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     On the other hand, several of the public               I am concerned about so much emphasis on legal
ef_d_ed[nf[hjiYWkj_ed[Zj^WjÇWh]kc[dj
                                                            strategies. The point of departure is a confused,
tends to trigger counter-argument.” By con-
trast, they pointed out, emotional messages
                                                            conﬂicted, inattentive public. Are legal strategies
ZedÊjj[dZjejh_]][hYekdj[h#[cej_edi$Ç7Xki[             the most effective strategies? I believe they are
Xh[[ZiWXki["È[nfbW_d[Z:WdOWda[bel_Y^"Ye#               important after the public agrees how to feel
founder of Public Agenda, a nonpartisan group               about an issue. Then you can sew it up legally.
devoted to public opinion research and citizen
                                                            Legal strategies themselves are a double-edged
[ZkYWj_ed$Ç?dj^_iYWi["oek^Wl[_dZkijho
being abusive. But you do not want to demon-
                                                            sword. The more adversarial the discourse, the
ize the industry. The objective ought to be to              more minds are going to be closed.
have the public take this issue so seriously that                                                           —Daniel Yankelovich
people change their behavior and pressure
industry to alter their current practices. In the
end, we want industry to be more receptive to
this pressure, not less.”                                        :WdOWda[bel_Y^WbieZ[iYh_X[Z^_ij^[eho
     For this reason and others, several                    e\j^[ÇfkXb_Yb[Whd_d]Ykhl["Èm^_Y^^ebZij^Wj
participants expressed reservations about                   public opinion moves through three recogniz-
implementing an overly litigious strategy at                able phases on issues like smoking or climate
this political moment. Perhaps the strongest                Y^Wd][$J^[\_hij_ij^[ÇYediY_ekid[ii#hW_i_d]È
fhefed[dje\j^_il_[mmWiOWda[bel_Y^"m^e                phase, during which the media can help dramat-
[nfbW_d[Z"Ç?WcYedY[hd[ZWXekjieckY^                   ically to draw attention to an issue. This is fol-
emphasis on legal strategies. The point of                  bem[ZXoj^[Çmeha_d]#j^hek]^Èf^Wi["Zkh_d]
departure is a confused, conflicted, inattentive            which things bog down as the public struggles
public. Are legal strategies the most effec-                over how to adapt to painful, difficult change.
tive strategies? I believe they are important               OWda[bel_Y^dej[ZWfWkY_joe\_dij_jkj_edij^Wj
after the public agrees how to feel about an                can help the public work through this phase,
issue. Then you can sew it up legally.” In the              which is frequently marked by the kind of denial
face of a confused, conflicted, and inattentive             and wishful thinking recognizable today in pub-
public, legal strategies can be a double-edged              lic opinion about climate change. He argued
imehZ"^[Yedj_dk[Z0ÇJ^[ceh[WZl[hiWh_Wb                 that only when the public begins to move into
the discourse, the more minds are going to be               j^[j^_hZf^Wi[e\Çj^ek]^j\kbfkXb_Y`kZ]c[djÈ
closed.” In response to a comment by Richard                can legal strategies prove most effective and
7oh[i"^em[l[h"OWda[bel_Y^W]h[[Zj^WjW                  ultimately produce laws and regulations.
legal strategy focused on the industry’s disin-                  7i^[[nfbW_d[Z"ÇCoi[di[_im[Wh[dej
formation campaign could help advance public                there yet on climate change. The media has
opinion on global warming, as it did in the case            not been a help. The opposition has been suc-
of tobacco.                                                 cessful in throwing sand in the works. People
     @_c>e]]WdWZl_i[Z"Ç?jÊib_a[j^WjebZWZW][         are just beginning to enter the open-minded
that says, ‘Never get into a fight with a pig in            stage. We are not decades away but I don’t
fkXb_Y$J^[f_]b_a[i_j$OekXej^][jZ_hjo$7dZ"         have enough empirical data. My sense is that it
after a while, people can’t tell the difference.’”          may take about three to five more years.”
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       The Prospects for a “Dialogic”                           In one interesting example of mobilizing
       Approach and Positive Vision                         public opinion on an issue, Mary Christina
                                                            MeeZZh[mj^[]hekfÊiWjj[dj_edjej^[Çl_Y-
       Given the fact that the climate advocacy
                                                            tory speakers” campaign in World War II.
       community has not yet coalesced around a
                                                            When the U.S. government was contemplating
       Yecf[bb_d]fkXb_YdWhhWj_l[":WdOWda[bel_Y^
                                                            entering the war, the threat of Nazi Germany
       suggested that the topic could be a good can-
       didate for engaging in a relatively new public       seemed too far away to many Americans, who
       ef_d_edj[Y^d_gk[ademdWij^[ÇZ_Wbe]_Y            were reluctant to change their lives to mobilize
       method,” in which representative groups hold-        for war. In response, the government orches-
       ing different views on a subject meet over the       trated a campaign in which some 100,000
       course of a day or more to develop a narra-          speakers, including Wood’s mother and grand-
       tive in an iterative fashion. The benefit of this    mother, made five speeches each day about
       method, he said, is that climate advocates           the need for U.S. involvement.23 Wood sug-
       could essentially work in partnership with the       gested that the campaign helped mobilize the
       fkXb_YÇXo^Wl_d]j^[c^[bfi^Wf[WdWhhWj_l[       American people remarkably quickly.
       that is compelling.”                                     Finally, several participants voiced strong
            OWda[bel_Y^Wh]k[Zj^Wjj^[dWhhWj_l[ckij     support for the need to create a positive vision
       convey deep emotion to cut through the apa-          as part of the public narrative about climate
       thy and uncertainty prevalent in public opinion      change. As Naomi Oreskes put it, citing Ted
       on the issue today, which has made it easier         Nordhaus and Michael Schellenberger’s article
       for the fossil fuel industry to sow confusion. In    ÇJ^[:[Wj^e\;dl_hedc[djWb_ic"È 24ÇCWhj_d
       considering these emotional components of            Luther King did not say, ‘I have a nightmare’!
       the narrative, he noted that anger is likely to      King looked at a nightmare but he painted a
       be one of the major candidates but there may         positive vision. Abolitionists did not say, ‘We
       X[ej^[hiWim[bb"WZZ_d]j^Wj"ÇJ^[dej_ede\      have to collapse the economy of the South,’
       a custodial responsibility and concern also          even if that is what happened. No one wants to
       has deep resonance.” Finding the right public        hear you are a bad person or that the way you
       dWhhWj_l["OWda[bel_Y^ik]][ij[Z"YekbZ^[bf        live is bad.” Lew Branscomb concurred, noting
       accelerate public opinion through the second         j^Wj"ÇJ^[h[^Wi]ejjeX[W\kjkh[f[efb[j^_da
       phase of the curve within the next five years.       is worth struggling for.”
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    6. Conclusion
       There was widespread agreement among workshop participants
       that multiple, complementary strategies will be needed moving
       forward.




       W
                      orkshop participants unanimous-        build an accessible repository for those docu-
                      ly agreed that the sessions yield-     ments that are obtained.
                      ed a productive and well-timed
       interdisciplinary dialogue. Participants from         Points of Agreement
       the scientific and legal communities seemed           There was widespread agreement among work-
       especially appreciative for the opportunity to        shop participants that multiple, complementary
       engage so intensively with experts outside            strategies will be needed moving forward. For
       their usual professional circles. The only poten-     _dijWdY["_dj[hcie\m^Wjj^[ÇYWdY[hÈWdW-
       tial gaps identified by attendees were a lack of      log for global warming might be, participants
       participants from the insurance industry and          generally accepted the proposition put forth
       a lack of emphasis on the biotic effects of cli-      by Angela Anderson that the answer might
       mate change.                                          differ by region, with sea level rise instilling
             Participants made commitments to con-           the most concern on the coasts, and extreme
       tinue the discussion and collaborate on a             heat proving most compelling in the Midwest.
       number of the efforts discussed at the meet-          Participants also agreed that it is better to
       ing. In particular, several participants agreed to    focus on consequences of climate change hap-
       work together on some of the attribution work         pening now rather than on those projected for
       already under way, including efforts to help          the distant future. Brenda Ekwurzel’s anecdote
       publicize attribution findings in a way that will     about the public’s engagement on the issue of
       be easy for the general public to understand,         high school football was offered as an example
       and build an advocacy component around                of the power that highlighting such immediate
       those findings. Others proposed an informal           consequences can have.
       ikX]hekfjefkhik[:WdOWda[bel_Y^Êiik]][i-               Equally important was the nearly unani-
       tion of using the dialogic method in conjunc-         mous agreement on the importance of legal
       tion with public relations specialists to help        actions, both in wresting potentially useful
       develop an effective public narrative.                internal documents from the fossil fuel indus-
             Participants also made commitments to           try and, more broadly, in maintaining pressure
       try to coordinate future efforts, continue dis-       on the industry that could eventually lead to its
       cussing strategies for gaining access to internal     support for legislative and regulatory respons-
       documents from the fossil fuel industry and its       es to global warming. Some participants stated
       affiliated climate denial network, and to help        that pressure from the courts offers the best
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current hope for gaining the energy industry’s              It is possible to see glimmers of an emerging
cooperation in converting to renewable energy.
                                                            consensus on a strategy that incorporates
    :WdOWda[bel_Y^[nfh[ii[ZWm_Z[bo^[bZ
i[dj_c[djm^[d^[dej[Zm^Wj^[YWbb[ZÇW
                                                            legal action with a narrative that creates
process of convergence” over the course of                  public outrage.
the workshop, in which participants with dif-
ferent expertise gradually incorporated broader
f[hif[Yj_l[iedj^[fheXb[cWj^WdZ$Ç?adem?             carbon who will come around.” To accomplish
found the tobacco example and the range                     this, he suggested a strategy that emphasizes
of possible legal strategies very instructive,”             facts and doesn’t impugn motives.
he said.                                                          Brenda Ekwurzel lent some histori-
                                                            cal support to such a view by citing Adam
Unresolved Issues                                           Hochschild’s book Bury the Chains, about the
Perhaps the largest unresolved issues from the              long campaign to end slavery. Hochschild
workshop were some disagreement over how                    noted, she said, that one of the most influen-
adversarial in tone efforts targeting the fos-              tial pamphlets published in the abolitionists’
sil fuel industry should be, and the extent to              fight offered a dispassionate accounting of
which outrage can mobilize the public.                      facts and details about the slave trade gath-
      On the latter point, one participant                  ered from witnesses who had participated in
dej[Z"ÇEkjhW][_i^k][bo_cfehjWdjje][d[h-               it. This publication had no trace of the moral
ate. Language that holds carbon producers                   finger-wagging that had marked virtually all
accountable should be an important part of the              prior pamphlets. Instead, the facts—especially
narrative we create.” But a number of partici-              a famous diagram of a slave ship—carried the
pants expressed reservations about any plans                day and became widely accepted. Women in
j^WjÇZ[ced_p[ZÈj^[\eii_b\k[b_dZkijho$                 the United Kingdom, for instance, soon started
      Myles Allen, for instance, worried that               serving tea using only sugar that had been
jeeWZl[hiWh_WbWjed[ÇYekbZ^WdZWl_Yjehoje            certified as not having come from the slave
the ‘merchants of doubt.’” He explained that                trade.25ÇCWoX["È;amkhp[bik]][ij[Z"Çm[
because the fossil fuel industry’s disinforma-              need an analogous effort to offer certified
tion has effectively muted a large portion of               energy sources from suppliers who do not
j^[[b[YjehWj["ÇEkh\eYkiek]^jjeX[jeXh_d]            spread disinformation.”
as many of these people back to the table and                     Mike MacCracken supported the need to
motivate them to act. We need to somehow                    Çm_dj^[c_ZZb[$È7i^[dej[Z"ÇM[^Wl[^WZ
promote a debate among different parts of the               an international consensus of scientists agree-
legislature to get this happening.”                         ing to key facts since 1990.”
      Lew Branscomb agreed that efforts should                    Angela Anderson said she hoped UCS
not seek to demonize the fossil fuel industry,              could contribute meaningfully to the pub-
dej_d]j^Wj"ÇJ^[h[Wh[Wbeje\YecfWd_[i_d              b_YÊiÇmeha_d]#j^hek]^ÈijW][e\j^[fheY[ii
the oil and auto business, and some of the                  ekjb_d[ZXo:WdOWda[bel_Y^$I^[dej[Zj^Wj
companies will come forward on the good side.               local climate adaptation stories offer a way to
We all need their cooperation. My notion is                 sidestep the controversy, but acknowledged
to try to find people in the industry producing             that it is still an open question whether this
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       strategy helps people work through the issue                 While many questions like these remain
       and ultimately accept climate science as fact.         unresolved, the workshop made an important
       ÇJ^_i_iekhj^[eho"Èi^[iW_Z"Ç8kjm[ZedÊj         contribution to the quest for answers. And
       have the research yet to prove this.” Anderson         it is possible to see glimmers of an emerg-
       added that many people expect UCS, as a                ing consensus on a strategy that incorporates
       science-based organization, to correct misin-          legal action (for document procurement and
       \ehcWj_edWXekjYb_cWj[iY_[dY[$Ç?ZedÊjmWdj        accountability) with a narrative that creates
       jeWXZ_YWj[j^Wjh[ifedi_X_b_jo"Èi^[iW_Z"ÇWdZ?    public outrage—not to demonize industry, but
       wrestle with this, wondering what is the most          to illuminate the collusion and fraudulent activ-
       effective order in which to do things and the          ities that prevent us from building the sustain-
       right tone?”                                           able future we need and our children deserve.
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Endnotes
 1                                                                        13
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     Advisory Committee to the Surgeon General of the United                   events in a warming world. PNAS. October 24. Also:
     States. Public Health Service publication no. 1103.                       Coumou, D., and S. Rahmstorf. 2012. A decade of weather
     Department of Health, Education, and Welfare. Online at                   extremes. Nature Climate Change. March 25.
     http://profiles.nlm.nih.gov/ps/retrieve/ResourceMetadata/
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       Appendix A: Workshop Agenda

       Climate Accountability, Public Opinion, and Legal Strategies

       Martin Johnson House, Scripps Institution of Oceanography, La Jolla, CA
       June 14–15, 2012




       Workshop Goals


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          anthropogenic climate change. Can we use the lessons from tobacco education, laws, and
          litigation to address climate change?

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          scientifically and in the public mind, and consider options for communicating the scientific
          understanding of attribution in ways most useful to inform both public understanding and
          mitigation strategies.

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          relationships of climate impacts to fossil fuel production and/or emissions would increase the
          prospects for an effective strategy for U.S.-focused climate mitigation.

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          producers—as opposed to carbon emitters—for U.S.-focused climate mitigation.

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          reinforcing intellectual, legal, and/or public strategies to further them.
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 June 14, 2012

7:45 a.m.       Meet in La Jolla Shores Hotel lobby for shuttle to workshop venue
8:00 a.m.       Coffee, light breakfast
8:30 a.m.       Welcome and charge to participants
9:00 a.m.       Session 1. The Lay of the Land: Key Issues and Concepts
                Five presentations @ five minutes each, with limit of one image/visual aid;
                followed by moderated discussion
                Proctor:7Xh_[\^_ijehoe\j^[jeXWYYemWhi0[f_Z[c_ebe]o"ÇZekXj_iekhfheZkYj"Èb_j_]Wj_edWdZ
                other strategies
                Allen: Climate science and attribution
                Heede: Attribution of emissions to carbon producers
                Pawa: The legal landscape: fundamentals of law, climate change, damages, plaintiffs, and
                defendants
                Slovic: Public opinion and risk perception on tobacco and climate
10:30 a.m.      Break
11:00 a.m.      Session 2. Lessons From Tobacco Control: Legal and Public Strategies
                Three presentations @ seven minutes each, with limit of one image/visual aid; followed by moderated
                discussion
                Sharon Eubanks, Stanton Glantz, Robert Proctor, Roberta Walburn: Litigation, media strategies,
                coordination with grassroots efforts, etc.
                Key issue: What lessons can we draw from the history of public and legal strategies for
                controlling tobacco that might be applicable to address climate change?
12:30 p.m.      Lunch
1:30 p.m.       Session 3. Attribution of Impacts and Associated Damages to Carbon and
                Climate Change: State of the Science and Expert Judgment
                Two presentations @ less than 10 minutes each; followed by moderated discussion
                On science: Myles Allen and Claudia Tebaldi
                Lead discussant: Mike MacCracken
                Key issue: What impacts can be most compellingly attributed to carbon and climate change?
3:00 p.m.       Break
3:15 p.m.       Session 4. Climate Legal Strategies: Options and Prospects
                Three presentations @ seven minutes each; followed by moderated discussion
                Presenters: Matt Pawa, Mims Wood, Richard Ayres
                Key issues: What potential options for U.S.-focused climate litigation appear most promising?
                To what extent would greater public (including judge and jury) acceptance of the causal
                relationships of climate impacts to fossil fuel production and/or emissions enhance the
                prospects for success?
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5:00 p.m.    Wrap up
             Shuttle service will be provided for the return trip to the hotel
6:30 p.m.    Drinks and dinner at the home of Lew and Connie Branscomb
             Shuttle will be provided from La Jolla Shores Hotel


 June 15, 2012

7:45 a.m.    Meet in La Jolla Shores Hotel lobby for shuttle to workshop venue
8:00 a.m.    Coffee, light breakfast
8:30 a.m.    Session 5. Attribution of Emissions to Carbon Producers
             Presentation @ 10 minutes; followed by moderated discussion
             Heede: Carbon majors analysis
             Lead discussant: Matt Pawa
             Key issue: Can new analyses increase the prospect for holding major carbon producers legally
             and publicly accountable?
9:30 a.m.    Session 6. Innovative Strategies for Climate Accountability
             One to two presentations @ seven minutes each; followed by moderated discussion
             Jim Hoggan, John Mashey
             Key issues: What potential options for U.S.-focused climate litigation appear most promising?
             To what extent would greater public (including judge and jury) acceptance of the causal
             relationships of climate impacts to fossil fuel production and/or emissions enhance the
             prospects for success? What types of non-litigation public pressure might enhance their
             prospects for success?
11:00 a.m.   Break
11:15 a.m.   Session 7. Public Opinion and Climate Accountability
             Moderated discussion drawing from key perspectives in public opinion
             Speakers::WdOWda[bel_Y^"FWkbIbel_Y"8h[dZW;amkhp[b
             Key issues: What is the role of public opinion in climate accountability?
12:45 p.m.   Lunch
2:00 p.m.    Session 8. Discussion, outcomes, next steps
4:00 p.m.    Wrap up
             Shuttle service will be provided for the return trip to the hotel
7:30 p.m.    Drinks and dinner at La Jolla Shores Hotel restaurant
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Appendix B: Participants

Climate Accountability, Public Opinion, and Legal
Strategies Workshop

June 14–15, 2012




Workshop Organizers                                         Workshop Participants
Naomi Oreskes                                               Myles Allen
Professor of History and Science Studies,                   Professor of Geosystem Science, School
University of California–San Diego                          of Geography & the Environment,
Adjunct Professor of Geosciences, Scripps                   University of Oxford
Institution of Oceanography                                 Environmental Change Institute, Oxford University
                                                            Centre for the Environment
Peter C. Frumhoff
Director of Science and Policy,                             Richard (Dick) E. Ayres
Union of Concerned Scientists                               Attorney, The Ayres Law Group
Cambridge, MA                                               Washington, DC

Richard (Rick) Heede                                        Brenda Ekwurzel
Principal, Climate Mitigation Services                      Climate Scientist and Assistant Director
Co-Founder and Director, Climate                            of Climate Research and Analysis,
Accountability Institute                                    Union of Concerned Scientists
Snowmass, CO                                                Washington, DC

Lewis M. Branscomb                                          Sharon Y. Eubanks
Aetna Professor of Public Policy and                        Advocates for Justice, Chartered PC
Corporate Management (emeritus), John                       Senior Counsel, Sanford Wittels & Heisler, LLP
F. Kennedy School of Government, Harvard                    Washington, DC
University
                                                            Stanton A. Glantz
Angela Ledford Anderson                                     Professor of Medicine, University of
Director, Climate and Energy Program,                       California–San Francisco
Union of Concerned Scientists                               University of California Center for
Washington, DC                                              Tobacco Control Research & Education
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                         James (Jim) Hoggan                                         Claudia Tebaldi
                         President, Hoggan & Associates                             Research Scientist, Climate Central
                         Vancouver, BC                                              Boulder, CO

                         Michael (Mike) MacCracken                                  Jasper Teulings
                         Chief Scientist for Climate Change                         General Counsel/Advocaat, Greenpeace
                         Programs, Climate Institute                                International
                         Washington, DC                                             Amsterdam

                         John Mashey                                                Roberta Walburn
                         Techviser                                                  Attorney
                         Portola Valley, CA                                         Minneapolis, MN

                         Joseph (Joe) Mendelson III                                 Mary Christina Wood
                         Director of Policy, Climate and Energy                     Philip H. Knight Professor and Faculty
                         Program, National Wildlife Federation                      Director, Environmental and Natural
                         Washington, DC                                             Resources Law Program, University of
                                                                                    Oregon School of Law
                         Matt Pawa
                         President, Pawa Law Group, PC                              Daniel (Dan) Yankelovich
                         Founder, The Global Warming Legal                          Chair and Co-Founder, Public Agenda
                         Action Project                                             San Diego, CA
                         Newton Centre, MA
                                                                                    Rapporteur
                         Robert N. Proctor
                         Professor of the History of Science,                       Seth Shulman
                         Stanford University                                        Senior Staff Writer, Union of
                                                                                    Concerned Scientists
                         Paul Slovic                                                Cambridge, MA
                         Founder and President, Decision Research
                         Eugene, OR
      ©Brenda Ekwurzel




                         Pictured (L to R): Stanton Glantz, Richard Heede, Roberta Walburn (obscured), James Hoggan, Sharon Eubanks,
                         Peter Frumhoff, Richard Ayres (obscured), Angela Anderson, Mary Christina Wood, Lewis Branscomb, Claudia
                         Tebaldi, Brenda Ekwurzel, Naomi Oreskes, Robert Proctor (obscured), Joseph Mendelson, Seth Shulman, John
                         Mashey (obscured), Myles Allen, Alison Kruger, Michael MacCracken. Not pictured: Matt Pawa, Paul Slovic, Jasper
                         Teulings, Daniel Yankelovich.
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Website: www.ucsusa.org    Website: www.climateaccountability.org        ©October 2012
                                                                         Union of Concerned Scientists and
                                                                         Climate Accountability Institute
